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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     In re:                                                        Chapter 11

     Stream TV Networks, Inc., et al.1                             Bankr. Case No. 23-10763 (AMC)
                                                                   (Jointly Administered)
                 The Debtors.


                      NOTICE OF APPEAL AND STATEMENT OF ELECTION


 Part 1: Identify the appellant(s)

       1. Name(s) of appellant(s): Visual Semiconductor, Inc.

       2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
          of this appeal:
               For appeals in an adversary proceeding.       For appeals in a bankruptcy case and not
               ☐ Plaintiff                                   in an adversary proceeding.
               ☐ Defendant                                   ☐ Debtor
               ☐ Other (describe) _______________            ☒ Creditor
                                                             ☐ Trustee
                                                             ☐ Other (describe) _____________

 Part 2: Identify the subject of this appeal

       1. Describe the judgment—or the appealable order or decree—from which the appeal is
          taken:

              Order approving settlement between Trustee, Hawk Investment Holdings, Ltd.,
              SeeCubic, Inc.

       2. State the date on which the judgment—or the appealable order or decree—was entered:

              ECF 805 – November 14, 2024




 1
  The Debtors, together with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
 Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors’ service address is: 2009
 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.



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 Part 3: Identify the other parties to the appeal

 List the names of all parties to the judgment—or the appealable order or decree—from which the
 appeal is taken and the names, addresses, and telephone numbers of their attorneys (attach
 additional pages if necessary):

     1. Party: Visual Semiconductor, Inc.           Attorney:
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     2. Party: William A. Homony, Trustee           Attorney:
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     2. Party: Hawk Investment Holdings, Ltd.       Attorney:
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 Part 4: Optional election to have appeal heard by District Court (applicable only in certain
        districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
 Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
 appeal heard by the United States District Court. If an appellant filing this notice wishes to have
 the appeal heard by the United States District Court, check below. Do not check the box if the
 appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

          Appellant(s) elect to have the appeal heard by the United States District Court rather than
          by the Bankruptcy Appellate Panel. ☐

 Dated: New York, New York
        November 27, 2024

                                                AKERMAN LLP

                                                By: /s/ R. Adam Swick
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